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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________

JONATHAN A. JACKSON,

                       Plaintiff,
                                                   09-CV-0485
                v.
                                                   DECISION AND
MICHAEL J. ASTRUE                                  ORDER
COMMISSIONER OF SOCIAL SECURITY,

                    Defendant.
_________________________________

                                INTRODUCTION

     Plaintiff Jonathan A. Jackson (“Plaintiff and/or “Jackson”)

brings this action pursuant to the Social Security Act (codified in

relevant parts at 42 U.S.C. §§ 405(g) and 1383(c)(3)), claiming

that the Commissioner of Social Security improperly denied his

application    for   disability     insurance   benefits    (“DIB”)    and

Supplemental   Security   Income    (“SSI”).     Specifically,    Jackson

alleges that the decision of the Administrative Law Judge, Lamar W.

Davis (hereinafter the “ALJ”), was erroneous and not supported by

substantial evidence in the record.        Plaintiff requests that the

Court reverse the ALJ’s decision and remand the matter to the

Commissioner for calculation and payment of benefits, or in the

alternative,    remand    the    matter   for   further    administrative

proceedings.

     The Defendant Commissioner of Social Security (hereinafter the

“Commissioner”) moves for judgment on the pleadings pursuant to

Rule 12(c) of the Federal Rules of Civil Procedure on grounds that
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the ALJ’s decision was supported by substantial evidence and was

made in accordance with applicable law.                  Plaintiff opposes the

Commissioner’s motion.               For the reasons discussed below, the

Commissioner’s motion for judgment on the pleadings is granted and

the ALJ’s decision is affirmed.

                                      BACKGROUND

      Plaintiff,        a    41-year-old     former   sanitation   worker,   filed

applications for DIB and SSI on December 7, 2005, claiming his

disability began on April 19, 20051 (Tr.2 99-105).                        Jackson’s

application       was       denied   on    April   14,   2006.     (Tr.    86-91).

Thereafter, Plaintiff timely filed a written request for hearing on

June 1, 2006.           (Tr. 84).         On May 23, 2008, Plaintiff and his

attorney at the time, Deborah Olszowka, appeared at a hearing held

in Buffalo, New York before ALJ, Lamar W. Davis. (Tr. 498-516).

Tim Janikowski, a vocational expert (“VE”), was also present and

testified at the hearing.             (Tr. 498).

      In a decision dated July 22, 2008 (the “Decision”), the ALJ

found that Jackson was not disabled within the meaning of the

Social Security Act (hereinafter “SSA”). (Tr. 11-22). The Appeals


      1
         On April 18, 2005, Plaintiff was awarded a closed period of
disability for the time period from April 24, 2003 through April 25, 2004 by
ALJ Bruce Mazzarella as a result of serious injuries Jackson sustained in a
head-on motor vehicle collision that occurred in April 2003. (Tr. 14, 24-32).
Jackson never returned to work following this accident, and he chose the day
following the date of the favorable decision as the onset date for the instant
application for benefits. (See id.).

      2
        “Tr. ___” refers to the full record and transcript of administrative
proceedings.

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Council denied review on January 27, 2009, rendering the ALJ’s

Decision the final decision of the Commissioner.                  (Tr. 4-6).

Plaintiff timely filed this action on May 20, 2009.

     In finding that Jackson was not disabled within the meaning of

the Social Security Act, the ALJ adhered to the Social Security

Administration’s      five-step    sequential    analysis   for   evaluating

applications and determining whether an individual is disabled.

See 20 C.F.R. § 404.1520(a) and 416.920(a)(4)(i)-(v)(2009)3.

     In this case, under step one of the analysis, the ALJ found

that Plaintiff had not engaged in substantial gainful activity

since April 18, 2005, the alleged onset date.            (Tr. 16).   At steps

two and three, the ALJ found that Plaintiff’s impairments, namely

his hypertension, low back pain, Gastro Esophageal Reflux Disease

[“GERD”] and Affective/Anxiety-Related Disorder, were severe within

the meaning of the Regulations but were not severe enough to “meet

or medically equal,” (either singly or in combination) the criteria

that conclusively requires a determination of disability under 20

C.F.R. §404, Subpart P, Appendix 1.          (Tr. 16).    At step four, the

ALJ concluded that Jackson was unable to perform his past relevant


     3
         The SSA regulations set forth a five-step process for determining
disability. The Commissioner must find a claimant disabled under the Act if
he determines, “(1) that the claimant is not working, (2) that [he] has a
‘severe impairment,’ (3) that the impairment is not one that conclusively
requires a determination of disability, and (4) that the claimant is not
capable of continuing in [his] prior type of work, [and] (5) there is not
another type of work the claimant can do.” See Wright v. Barnhart, 473
F.Supp.2d 488, 492 (S.D.N.Y. 2007) (quoting Draegert v. Barnhart, 311 F.3d
468, 472 (2d Cir. 2002); see also, 20 C.F.R. § 404.1520(a) and
416.920(a)(4)(i)-(v).

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work - i.e., light to medium extertional work.             Nevertheless, at

step five, the ALJ determined that Plaintiff had “the residual

functional capacity (“RFC”) to perform a full range of sedentary

work, [] despite [] minimal non-exertional limitations.”             (Tr. 16,

21).   Indeed, the ALJ relied on the testimony of the VE and on the

Medical-Vocational Rules found in 20 C.F.R. §404, Subpart P,

Appendix 2 (“the Rules”) to conclude that “[Jackson] would be

capable of performing [any of the sedentary jobs] outlined by the

vocational expert.”      (Tr. 21).      Accordingly, the ALJ determined

that “based on a [RFC] for the full range of sedentary work - while

considering the claimant’s age, education - a               finding of ‘not

disabled’ is reached by direct application of Medical-Vocational

Rule 201.27/.28/.29.” (Tr. 22).

       For   the   reasons    that   follow,   I   find    that   the   ALJ’s

determinations were supported by substantial medical evidence in

the record, and therefore, his Decision must be affirmed.

                                 DISCUSSION

I.   Jurisdiction and Scope of Review

       42 U.S.C. § 405(g) grants jurisdiction to district courts to

hear claims based on the denial of Social Security benefits.

Additionally, the section directs that when considering such a

claim, the court must accept the findings of fact made by the

Commissioner,      provided   that   such   findings      are   supported   by

substantial evidence in the record.         Id.    Substantial evidence is


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defined as “such relevant evidence as a reasonable mind might

accept as adequate to support a conclusion.”             Consolidated Edison

Co. v. NLRB, 305 U.S. 197, 229 (1938).        Section 405(g) thus limits

the court’s scope of review to determining whether or not the

Commissioner’s findings were supported by substantial evidence.

See Mongeur v. Heckler, 722 F.2d 1033, 1038 (2d Cir. 1983) (finding

that the reviewing court does not try a benefits case de novo).

The court is also authorized to review the legal standards employed

by the Commissioner in evaluating the Plaintiff’s claim.

     The court must “scrutinize the record in its entirety to

determine the reasonableness of the decision reached.”            See Morici

v. Astrue, 2008 WL 686763, *1 (W.D.N.Y. 2008) (Telesca, J.) (citing

Lynn v. Schweiker, 565 F.Supp 265, 267 (S.D. Tex 1983)).                    The

Commissioner   asserts    that   his     decision   is    supported    by   the

substantial medical evidence in the record, and moves for judgment

on the pleadings pursuant to Rule 12(c) (“Rule 12(c)”) of the

Federal Rules of Civil Procedure.

     A party is entitled to judgment on the pleadings under Rule

12(c) if he can establish that no material facts are disputed and

that he is entitled to judgment as a matter of law.            See Cleveland

v. Caplaw Enterprises, 448 F.3d 518, 521 (2d Cir. 2006).              Judicial

review of a Social Security disability determination involves two

levels of inquiry.       Wright v. Barnhart, 473 F.Supp.2d 488, 492

(S.D.N.Y. 2007) (citing Tejada v. Apfel, 167 F.3d 770, 773 (2d Cir.


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1999).      First, the court determines whether the Commissioner

applied the correct legal standard in the disability hearing.             Id.

Second, the court must review the record to determine whether the

Commissioner's decision is supported by “substantial evidence.” Id.

      In this case, I find that the ALJ applied the correct legal

standard, and properly applied the five-step process to determine

that Jackson was not disabled under the Social Security Act.             It is

not this Court’s function to substitute its judgment of disability

for that of the ALJ, and although Plaintiff’s opposition to the

Commissioner’s motion set forth cogent arguments, I find that the

ALJ’s determination was supported by substantial evidence in the

record and should be affirmed.       See Melville v. Apfel, 198 F.3d 45,

52 (2d Cir. 1999) (“It is not the function of a reviewing court to

. . . answer in the first instance the inquires posed by the five-

step analysis set out in the SSA regulations.”).             The Court is

required to uphold the decision so long as it is supported by

substantial evidence.    Id.   Accordingly, the Commissioner’s motion

for judgment on the pleadings is granted and the ALJ Decision is

affirmed.

II.   The findings of the ALJ were supported by substantial evidence

      Plaintiff contends that the ALJ did not thoroughly consider

the medical evidence, particularly the evidence that Plaintiff’s

cognitive    deficiencies   affect    his   ability   to   work,   even    at

sedentary    jobs.    Moreover,      Plaintiff   asserts   that    the    ALJ


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improperly    disregarded         the    opinion        of   Plaintiff’s         treating

physician as well as the testimony of the VE with respect to a

certain hypothetical posed to him during the VE’s examination.                           I

find that the ALJ gave proper weight to the evidence in the record

and that his decision was supported by substantial evidence.

       A.   The ALJ did not improperly disregard the medical evidence
            regarding    Plaintiff’s    cognitive    and/or    mental
            impairments.


       Plaintiff    claimed      that    he     was    disabled    as     a    result   of

depression, post-traumatic stress disorder (“PTSD”) and cognitive

disorder stemming from the April 2003 motor vehicle accident. (Tr.

28).    Plaintiff points to the examinations performed by Thomas

Dickinson, Ph.D. (a consulting examining psychologist), Michael

Santa Maria, Ph.D. (a consulting examining neuropsychologist) and

by Malti Patel, M.D. (a treating physician), which demonstrated

that Plaintiff was diagnosed with PTSD, Major Depressive disorder,

and cognitive disorder, including problems with memory and motor

processing which would impact his ability to function and/or

perform sedentary tasks. (Tr. 233-38; 259-65; 332-38).

       Although     each   of    these    practitioners           noted       Plaintiff’s

subjective   complaints         of   decreased        functioning,      and     diagnosed

Plaintiff    with    depression,        PTSD,    and    cognitive       disorder,       not

otherwise specified, the reports also indicated that none of these

impairments should interfere with Plaintiff’s ability to understand

simple tasks, carry out instructions, and interact appropriately


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with co-workers and customers. None of the practitioners noted any

condition which would prevent Jackson from returning to non-

skilled, non-extertional, sedentary work.             (See Id.).

       For example, Dr. Santa Maria concluded, “I do not find clear

evidence of a cognitive or psychological condition that in my

judgment would preclude [Plaintiff’s] [return] to various entry-

level employment positions . . . .”           (Tr. 265).       Indeed, Dr. Santa

Maria stated, “taking into account [Plaintiff’s] criminal and drug

history in combination with symptom exaggeration on a comprehensive

personality inventory [] and highly suspicious performance on a

measure of memory functioning sensitive to effort [], one has to

question     the    veracity      of    cognitive     weaknesses      that   were

demonstrated in some areas of memory [], processing speed, and

attention [].”      (Id.).

       Similarly, Dr. Dickinson opined that Jackson could follow and

understand       basic     job    directions,     maintain       attention    and

concentration for job assignments and make basic job decisions.

(Tr. 336). Dr. Dickinson’s opinion was adopted by the State Agency

reviewing psychologist, Dr. Totin, who determined in connection

with    Jackson’s        Mental   RFC    Assessment     that     Jackson     could

“understand, carry out, and remember simple instructions, make

simple work-related decisions, deal with changes in a routine work

setting    and     have    only    moderate     limitations      in   responding

appropriately to supervisors.” (Tr. 286).             Again, Dr. Totin noted,



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“Disparity     between     self-report       and    records   raise    questions

regarding [Plaintiff’s] credibility.”              (Id.).

      Notably, Dr. Patel’s reports indicate that for the treatment

period of September 2006 through March 2008, Plaintiff’s problems

with depression and PTSD were “much improved,” with the use of

medication (Tr. 231-34), and Jackson stated “he is very proud of

how far he has come.”       (Tr. 233).

      The ALJ’s Decision detailed each of these practitioner’s

reports, and at times, even provided Jackson with the benefit of

every favorable inference from the evaluations. (Tr. 19, 20). The

Decision demonstrates to the Court that the ALJ properly considered

the   substantial      medical   evidence     regarding     Plaintiff’s    mental

capabilities     and    limitations,      and      yet,   consistent   with   the

practitioners’      assessments,    the      ALJ    could   not   conclude    that

Plaintiff was disabled from performing all work.                  (Id.).   I find

that the ALJ’s determination and assessment of Plaintiff’s mental

RFC is consistent with and supported by substantial evidence and

should be affirmed.

      B.   The ALJ gave proper weight to the opinion of Plaintiff’s
           treating physician.

      In order to be granted controlling weight, opinions from

treating sources must “reflect judgments about the nature and

severity of [claimant’s] impairment(s).” See 20 C.F.R. §§ 404.

1527(a)(2).    Since “the final responsibility for deciding [whether

the claimant is disabled] is reserved to the Commissioner,” see 20


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C.F.R. § 404. 1527(e)(2), “[t]reating source opinions on issues

that   are   reserved   to    the    Commissioner      are    never      entitled    to

controlling weight or special significance.” See SSR 96-5p; see

also, Montalvo v. Barnhart, 457 F.Supp.2d 150 (W.D.N.Y. 2006); also

Snell v. Apfel, 177 F.3d 128 (2d Cir. 1999).

       In this case, Dr. Bassig (Plaintiff’s treating physician)

completed a standardized disability form on Jackson’s behalf and

indicated that Plaintiff could only sit, stand, walk and lie down

for a total of one hour per activity in an eight-hour work day.

(Tr. 167).    The ALJ afforded Dr. Bassig’s opinion, as expressed in

this form, with “little weight” since the doctor did not account

for what Plaintiff would be doing the remaining four hours of the

work day.      (Tr. 19).       The ALJ’s determination to afford this

evidence limited weight was appropriate because it conflicted with

the substantial evidence in the record. See SSR 96-2p; 20 C.F.R. §

404.1527; see also, Halloran v. Barnhart, 362 F.3d 28, 29 (2d Cir.

2004) (finding that a physician’s demarcations on a standardized

form are not particularly informative regarding an individual’s

functional    limitations);         Wright,     473   F.Supp.2d     at      493   (“the

treating physician’s opinion does not get controlling weight when

‘other   evidence    in      the    record      conflicts    with     the    treating

physician’s opinion.’”) (quoting Snell v. Apfel, 177 F.3d 128, 133

(2d Cir. 1999).

       Where as here, much of the medical evidence revealed that

Plaintiff’s    impairments         did   not    prevent     him   from      performing

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sedentary work (Tr. 169-83; 267; 323), the ALJ appropriately

afforded Dr. Bassig’s opinion little weight.

      C.    The finding of the ALJ that Plaintiff could perform other
            work was supported by substantial evidence.


      The Social Security Act provides that the Commissioner bears

the   burden   of    proof       during      the    final    step   in   a   disability

determination whether jobs exist in the economy, which the claimant

can perform within his residual functional capacity (“RFC”).                          See

20 C.F.R. § 404.1520(a)(4)(v).                 Where as here, in cases in which

the claimant has only exertional limitations, this is done by use

of the Medical-Vocational Guidelines (“grids”) found in 20 C.F.R.

§404, Subpart P, Appendix 2.                However, in cases where the claimant

has a combination of exertional and non-exertional limitations,

“the guidelines cannot provide the exclusive framework for making

a disability determination.”                  See Bapp v. Bowen, 802 F.2d 601

(2d Cir. 1986). In these instances, “application of the grid

guidelines     and       the    necessity      for       expert   testimony    must    be

determined on a case-by-case basis.”                     See id. at 605.

      In   this    case,       the    ALJ   complied       with   the   Regulations    by

obtaining the testimony of a Vocational Expert (“VE”) in addition

to the applicable grids.               The ALJ posed a thorough hypothetical

question to the VE, outlining all of the Plaintiff’s functional

limitations       that    were       supported      by    substantial    evidence     and

extended the Plaintiff significant benefit of the doubt as to the

severity of his conditions.             (Tr. 512-15).         Despite having limited

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evidence as to the Plaintiff’s non-exertional limitations, the ALJ

granted Plaintiff a status of being only capable of performing

sedentary work.    (Id.).    The VE testified that jobs existed in the

regional   and    national   economy      that   a    person   matching    the

Plaintiff’s    non-exertional   limitations      could   perform,   such   as

surveillance system monitor, cashier and telemarketer.            (Tr. 514).

     Plaintiff asserts that the opinions and testimony of the VE

were not properly considered by the ALJ.         In particular, Plaintiff

contends that the ALJ ignored the second hypothetical he posed to

the VE concerning Jackson’s subjective complaints of cognitive

difficulties, such as mental inattention and distraction.             As set

forth above, however, the record does not contain substantial

evidence that the Plaintiff has such severe cognitive limitations.

In fact, most of the examining practitioners concluded that there

were no such mental impairments that would prohibit Jackson from

returning to     unskilled, sedentary work.          Thus, the ALJ properly

found, based upon the sworn testimony of an independent VE and the

grids, that there were jobs in the national and regional economy

which the Plaintiff could perform given his RFC.           Upon making such

a finding, the Regulations require that the ALJ find the Plaintiff

“not disabled.” See 20 C.F.R. §§ 404.1520, 416.920.

                                CONCLUSION

     The ALJ’s findings are supported by substantial evidence in

the record and are proper as a matter of law; therefore, the



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Commissioner’s    Decision    is    affirmed.        Accordingly,      the

Commissioner’s motion for judgment on the pleadings is granted.



     ALL OF THE ABOVE IS SO ORDERED.



                                     s/Michael A. Telesca
                                       MICHAEL A. TELESCA
                                       United States District Judge


     Dated:      Rochester, New York
                 August 30, 2010




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